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 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7                                      AT SEATTLE

 8 UNITED STATES OF AMERICA,                          )
                                                      )
 9                                      Plaintiff,    )   Case No. CR06-26-RSL
                                                      )
10         v.                                         )   PROPOSED FINDINGS OF FACT
                                                      )   AND DETERMINATION AS TO
11 DANIEL MENGISTEAB YOHANNES,                        )   ALLEGED VIOLATIONS OF
                                                      )   SUPERVISED RELEASE
12                                    Defendant.      )

13                                         INTRODUCTION

14      I conducted a hearing on alleged violations of supervised release in this case on January 22,

15 2010. The defendant appeared pursuant to a warrant issued in this case. The United States was

16 represented by Todd Greenberg, and defendant was represented by Bruce Erickson. Also present

17 was U.S. Probation Officer Thomas Fitzgerald. The proceedings were digitally recorded.

18                                SENTENCE AND PRIOR ACTION

19      Defendant was sentenced on December 8, 2006 by the Honorable Robert S. Lasnik for

20 conspiracy to Distribute Cocaine Base. He received 36 months of detention and 5 years of

21 supervised release.

22                              PRESENTLY ALLEGED VIOLATIONS

23       In a petition dated July 31, 2009, U.S. Probation Officer Thomas Fitzgerald alleged that


     PROPOSED FINDINGS OF FACT AND DETERMINATION AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE - 1
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 1 defendant violated the following conditions of supervised release:

 2       1.       Failing to participate in Moral Reconation Therapy (MRT) on July 8, 15, and 22,

 3 2009, in violation of his special condition of supervised release.

 4       2.       Failing to report to the probation officer as directed on July 20, and 30, 2009, in

 5 violation of standard condition number two of his supervised release.

 6       In a supplemental petition dated December 11, 2009, U. S. Probation Officer Thomas

 7 Fitzgerald alleged that defendant violated conditions of supervision by:

 8       3.       Committing the crime of Possession of a Controlled Substance with Intent to

 9 Deliver – Cocaine, on or about November 11, 2009, in violation of the general condition that he

10 not commit a federal, state, and/or local crime.

11       4.         Possessing cocaine on or about November 11, 2009, in violation of standard

12 condition number seven of his supervised release.

13       5.       Distributing cocaine on or about November 11, 2009, in violation of standard

14 condition number seven of his supervised release.

15       6.       Possessing drug paraphernalia on or about November 11, 2009, in violation of

16 standard condition number seven of his supervised release.

17       7.       Committing the crime of Driving with a Suspended License, in violation of the

18 general condition that he not commit a federal, state, and/or local crime.

19       8.       Associating with Theresa Fox, a convicted felon, on or about November 11, 2009,

20 in violation of standard condition number nine of his supervised release.

21       9.       Associating with persons engaged in criminal activity, on or about November 11,

22 2009, in violation of standard condition number nine of his supervised release.

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     PROPOSED FINDINGS OF FACT AND DETERMINATION AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE - 2
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 1                      FINDINGS FOLLOWING EVIDENTIARY HEARING

 2       The government withdrew violations 3, 4, 5, and 6. Defendant admitted to violations 1, 2,

 3 7, 8, and 9, waived any hearing as to whether they occurred, and was informed the matter would

 4 be set for a disposition hearing February 5, 2010 at 2:30 p.m. before District Judge Robert S.

 5 Lasnik.

 6                       RECOMMENDED FINDINGS AND CONCLUSIONS

 7       Based upon the foregoing, I recommend the court find that defendant has violated the

 8 conditions of his supervised release as alleged above, and conduct a disposition hearing.

 9       DATED this 22nd day of January, 2010.

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                                                        A
                                                        BRIAN A. TSUCHIDA
                                                        United States Magistrate Judge
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     PROPOSED FINDINGS OF FACT AND DETERMINATION AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE - 3
